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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

 JUAN R. VILLEGAS                                    §
                Plaintiff                            §
                                                     §
 vs.                                                 §
                                                     §     CIVIL ACTION NO. ___________
 ARMANDO GONZALEZ,                                   §
 TRANSPORTES ROLESA, SA DE CV                        §
 AND ROLESA TRANSPORT, LLC                           §
              Defendants                             §


                    DEFENDANTS ARMANDO GONZALEZ AND
              TRANSPORTES ROLESA, SA DE CV’S NOTICE OF REMOVAL


TO:     THE UNITED STATES DISTRICT COURT             FOR THE   SOUTHERN DISTRICT     OF   TEXAS,
        MCALLEN DIVISION:

        Defendants ARMANDO GONZALEZ and TRANSPORTES ROLESA, SA DE CV

(hereinafter collectively referred to as “Defendants”) files this notice of removal pursuant

to 28 U.S.C. § 1446(a).

                                         I. Introduction

        1.1      Plaintiff is Juan R. Villegas (hereinafter “Plaintiff”), a Untied States citizen

and Texas resident.

        1.2      Defendants Transportes Rolesa, SA de CV (“Defendant Transportes”) and

Armando Gonzalez (“Defendant Gonzalez”) are citizens, entities, and/or residents of the

country of Mexico. They do not have a place of employment or place of business in

Texas.

        1.3      Defendant Rolesa Transport, LLC is an improper party to this lawsuit.

Plaintiff cannot prove now or in the future that it was involved in the incident made the



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basis of this lawsuit or that it in any way caused or contributed to said incident. Defendant

Rolesa Transport, LLC was fraudulently joined in this lawsuit in an effort to defeat this

court’s federal diversity jurisdiction.

        1.4      According to Hidalgo County Clerk records, Plaintiff filed his suit against

Defendants on May 3, 2022. This cause is currently pending in the 370th Judicial District

Court of Hidalgo County, Texas under Cause No. C-1612-22-G. Said suit is styled Juan

R. Villegas v. Armando Gonzalez, Transportes Rolesa, SA de CV, and Rolesa Transport,

LLC. Citation was issued to Defendants on June 9, 2022. As of this filing, Defendants

have not been properly served with service of process.

        1.5      Defendant Gonzalez is a Mexican citizen who drives tractor-trailers in the

United States and Mexico. He does not reside in the United States, and he does not have

a designated place of employment in the United States.

        1.6      Defendant Transportes is a Mexican company that employed Defendant

Gonzalez to drive a tractor-trailer in Mexico, and to the United States of America as a B-

1 driver. It does not have a designated place of business in the United States. It owns

no real estate in the United States of America.

        1.7      In the interests of speed and efficiency, Defendants elect to waive formal

service effective as of the date of this filing. Consequently, Defendants file this notice of

removal within the 30-day time period required by 28 U.S.C. 1446(b). Bd. Of Regents of

Univ. of Tex. Sys. V. Nippon Tel. & Tel. Corp., 478 F.3d 274, 278 (5th Cir. 2007); see also

Monterey Mushrooms, Inc. v. Hall, 14 F. Supp. 2d 988, 991 (S.D. Tex. 1998) (the statutory

period for removal begins to run from the time a defendant actually receives a copy of the

pleadings and not when the statutory agent receives process).



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                                     II. Basis for Removal

         2.1     Removal is proper because Plaintiff joined Rolesa Transport, LLC solely to

defeat diversity jurisdiction. See Davidson v. Ga-Pac., L.L.C., 819 F.3d 758, 765 (5th Cir.

2016). There is no reasonable basis for believing that Plaintiff could recover from Rolesa

Transport, LLC in state court. Chambers v. HSBC Bank USA, N.A., 796 F.3d 560, 564-

65 (6th Cir. 2015); see Moris v. Princess Cruises, Inc., 236 F.3d 1061, 1067-68 (9th Cir.

2001).

         2.2     Removal is proper because there is complete diversity between the parties.

28 U.S.C. § 1332(a); Johnson v. Columbia Props. Acnhorage, L.P., 437 F.3d 894, 899-

900 (9th Cir. 2006).      Plaintiff is a U.S. citizen and resident of the State of Texas.

Defendants Transportes and Defendant Gonzalez are Mexican citizens, reside in Mexico

and have no residence, office or place of business in the United States. See 28 U.S.C.A.

§ 1441(a); Barragan v. Warner-Lambert Co., 216 F. Supp. 2d 627, 630 (W.D. Tex. 2002).

Additionally, the amount in controversy exceeds $75,000.00, excluding interest and costs.

28 U.S.C. § 1332(a); Andrews v. E.I. du Pont de Nemours & Co., 447 F.3d 510, 514-15

(7th Cir. 2006).

         2.3     Venue is proper in this district under 28 U.S.C. § 1441(a) because the state

court where the suit has been pending is located in this district.

         2.4     Defendants will promptly file a copy of this notice of removal with the clerk

of the state court where the suit has been pending.

         2.5     Pursuant to Local Rule LR81 of the United States District Court for the

Southern District of Texas, Defendants provide a copy of the docket sheet, if any, process,

if any, pleadings, and any signed orders served in the State Court action, together with



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an index of matters being filed, and the notice served upon Plaintiff’s attorney of record

that this matter was removed. These documents are attached as “EXHIBIT 1”. Also

pursuant to LR81, an Index of Attorneys/Parties is attached as “EXHIBIT 2.”

        2.6      All Defendants consent to this removal.

                                         III. Prayer

        3.1      In accordance with the above, Defendants pray that this Court enter such

further Orders and grant such further relief as may be necessary to secure removal herein

and to prevent further proceedings in the 370th Judicial District Court of Hidalgo County,

Texas and for such other and further relief, general and special, legal and equitable, to

which they may show themselves to be justly entitled.

                                           Respectfully submitted,

                                           By:    /s/ James H. Hunter, Jr.
                                                  James H. Hunter, Jr.,
                                                  Attorney-in-Charge,
                                                  State Bar No. 00784311
                                                  Federal I.D. No. 15703
                                                  55 Cove Circle
                                                  Brownsville, Texas 78521
                                                  (956) 542-4377 (Telephone)
                                                  (956) 542-4370 (Facsimile)
                                                  E-Mail: jim.hunter@roystonlaw.com
                                                  ATTORNEYS FOR DEFENDANTS
                                                  ARMANDO GONZALEZ AND
                                                  TRANSPORTES ROLESA, SA DE CV

OF COUNSEL:
Liliana Elizondo
State Bar No. 24078470
Federal ID No. 2979434
55 Cove Circle
Brownsville, Texas 78521
(956) 542-4377 (Telephone)
(956) 542-4370 (Facsimile)
E-Mail: liliana.elizondo@roystonlaw.com



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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY, that a true and correct copy of the above and foregoing
document was filed electronically and forwarded via the CM/ECF Filing System, facsimile,
Regular U.S. Mail, certified mail, return receipt requested and/or E-Mail to all known
counsel of record on this 7th day of October 2022, as follows:


                                 Humberto Tijerina
                                   Cesar Palma
                                  Derek I. Salinas
                               Gerardo L. Garcia, Jr.
                          TIJERINA LEGAL GROUP, P.C.
                       1200 South Colonel Rowe Blvd., Suite 4A
                               McAllen, Texas 78501


                                              /s/ James H. Hunter, Jr.
                                        Royston, Rayzor, Vickery & Williams, LLP




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